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FOR THE WESTERN DISTRICT oF TENNESSEE 65 ring 2_
WEsTERN DIVIsIoN

 

 

UNITES STATES OF AMERICA,
Plaintiff,

Cr. No. 03 -20409-D

V.

LEON JACKSON,

Defendant.

ORDER GRANTING DEFENDANT’S MOTION TO
AMENI) JUDGMENT AND COMMITMENT ORDER

For good cause shoWn, the motion to amend order of judgment and commitment in this

matter is hereby GRANTED. Defendant is hereby ordered to self surrender on July 20, 2005.

lt is so ORDERED, this the ,LQ(_ day of May, 2005.

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flONORABLii`/§ERNICE B. DONALD(/`
slNITED STATES DISTRICT COURT JUDGE

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This notice confirms a copy of the document docketed as number 64 in
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Honorable Bernice Donald
US DISTRICT COURT

